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                 EXHIBIT B-129
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                  IN THE SUPERIOR COURT OF FULTON COUNT                          FILED IN OFFICE
                              STATE OF GEORGIA
   IN RE: SPECIAL PURPOSE
                                                                               fj J N 20 2023{g
GRAND JURY
                                                 •
                                                                                DEPUTY C E~K SUPERIOR COURT
                                                                                     FULTO"J COUNTY, GA


V.                                               •      CASE NO. 2022-EX-000024



                                                 •

     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device m
Courtroom SD in order to [8Jrecord images and/ or [8Jsound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [8Jcomputer of any size, including a
tablet, a notebook, and a laptop; [8Jsmart phone, a cell phone or other wireless
phone; [8J camera and other audio or video recording devices D any similar
devices __

The proceedings  that the undersigned desires to record commence on (date and
time) January 24, 2023 @ 12pm. Subject to direction from the court regarding
possible pooled coverage, the undersigned wishes to use this device in the
courtroom on (date and time)
January 24, 2023 @ 12pm


The personnel      who will be responsible           for the use of this recording device are:
(identify appropriate personnel or individual)
Jason Morris, Supervising Producer, CNN Atlanta
Sara Murray, National Correspondent, CNN
CNN Photojournalist TBD


For questions or concerns email pio@fultoncountyqa.gov                                         1
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The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.



CABLE NEWS NETWORK (CNN)

Jason.morris@warnermedia.com

404-536-7035,      404-668-9272

ORDER APPROVING/DISAPPROVING REQUEST:
              The request is:
                    ~Approved


              The requesting agency:
                            be pool for its media
                      ~Shall   not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 19 th day of January           2023.




                                        r Court of Fulton County
                                Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountyqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
